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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division



    UNITED STATES OF AMERICA,et al.


                                 Plaintiffs,

                                                      Civil Action No. l:23-cv-00I08-LMB-
          V.
                                                      JFA


    GOOGLE LLC,


                                 Defendant.




                            UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK




     IN RE GOOGLE DIGITAL ADVERTISING                Civil Action No. l:2l-md-03010-PKC
     ANTITRUST LITIG.




                         ORDER REGARDING COORDINATION OF DISCOVERY

         1.     Definitions. For purposes of this Order, the following definitions will apply:

                a.     "Confidential Information" means material that qualifies as "Confidential

        Information" as that term is defined in either paragraph 1(b) of the MDL Confidentiality

         Order or paragraph 1(b) of the Virginia Protective Order.

                b.     "Coordinated Case" means the MDL or the Virginia Case. "Coordinated

         Cases" means the MDL and the Virginia Case.
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               c.      "Coordinated Discovery Period" means the time period after the Deadline

        for Substantial Completion of Document Production in the Virginia Case and before the

        Fact Discovery Cutoff in the Virginia Case.

               d.      "Counsel" means Outside Counsel, Virginia Plaintiffs' Counsel, and MDL

        State Plaintiffs' Counsel, provided that "Counsel" shall not include Counsel for any Party

        that ceases to be part of the MDL(unless and until a further order directs otherwise).

               e.      "Cross Notice" means to send a notice of intent to take a deposition of a

        Party under Federal Rule of Civil Procedure 30(b)(1) or to serve a subpoena for a Non-

        Party Deposition under Federal Rule of Civil Procedure 45(a)(1), after another Party has

        Noticed a deposition of the same witness.

               f.      "Deadline for Substantial Completion ofDocument Production in the

        Virginia Case" means the date ordered by the Court for the substantial completion of

        document production in the Virginia Case.

                g.     "Deposition Limit" means (i)for Parties in the MDL,the fact-deposition

        limit in the MDL referenced in paragraph 6.5 of Pre-Trial Order Number 5 in the MDL

        (Dkt. 394), and any changes to that limit that may be made after entry ofthis Order; and

        (ii) for Parties in the Virginia Case, the fact-deposition limits in the Virginia Case

        referenced in paragraph 7 of the Rule 16(b) Scheduling Order in the Virginia Case (Dkt.

        94), which references and incorporates paragraph 6(G)of the Joint Discovery Plan in the

        Virginia Case(Dkt. 87), and any changes to those limits that may be made after entry of

        this Order.
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                h.     "Deposition Notice" means a notice of intent to take a deposition ofa

        Party under Federal Rule of Civil Procedure 30(b)(1) or a subpoena for a Non-Party

        Deposition under Federal Rule of Civil Procedure 45(a)(1).

                i.     "District Courts" means the U.S. District Court for the Eastern District of

        Virginia and the U.S. District Court for the Southern District of New York.

               j.      "Expert Discovery" means expert reports in a Coordinated Case, backup

        materials and other information disclosed in connection with expert reports in a

        Coordinated Case, and expert testimony (including expert deposition testimony)in a

        Coordinated Case.

                k.     "Fact Discovery Cutoff in the Virginia Case" means the date ordered by

        the Court for the conclusion offact discovery in the Virginia Case.

                1.     "Google" means Google LLC,as well as its parents, divisions,

        subsidiaries, affiliates, partnerships and joint ventures, and all directors, officers,

        employees, agents (including counsel), and representatives of the foregoing.

                m.     "Google Deposition" means any deposition of a current or former

        employee of Google or of Google's corporate designee under Federal Rule of Civil

        Procedure 30(b)(6).

                n.     "Highly Confidential Information" means material that qualifies as

        "Highly Confidential Information" as that term is defined in either paragraph 1(h) of the

        MDL Confidentiality Order or paragraph 1(g) ofthe Virginia Protective Order.

                o.     "MDL" means the multidistrict litigation captioned as In re Google

        Digital Advertising Antitrust Litigation that is currently pending in the U.S. District Court

        for the Southern District of New York under docket number 21-md-03010-PKC, and all
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        of the cases that are currently part of that multidistrict litigation or that become part of

        that multidistrict litigation after entry ofthis Order, but only for such time as a case is

        part of the multidistrict litigation (unless and until a further order directs otherwise).

                p.     "MDL Confidentiality Order" means the Confidentiality Order entered as

        docket entry 297 in the MDL.

                q.     "MDL Plaintiff means a plaintiff in any case made part ofthe MDL,but

        only for such time as that plaintiffs case is part of the MDL(unless and until a further

        order directs otherwise).

                r.     "MDL Plaintiffs' Counsel" means any attomey retained to represent or

        advise an MDL Plaintiff, as well as any paralegals, administrative assistants, and clerical

        and administrative personnel supervised by that attomey, but only for such time as that

        MDL Plaintiffs case is part ofthe MDL (unless and until a further order directs

        otherwise).

                s.     "MDL State Plaintiffs" means the States of Texas, Alaska, Arkansas,

        Idaho, Indiana, Kentucky, Florida, Louisiana, Mississippi, Montana, Missouri, Nevada,

        North Dakota, South Dakota, South Carolina, Utah, the Commonwealth of Kentucky,

        Puerto Rico, and any other state thatjoins the MDL,by and through their respective

        Attomeys General, but only for such time as that state's case is part of the MDL(unless

        and until a further order directs otherwise).

                t.     "MDL State Plaintiffs' Counsel" means any attorney retained to represent

        or advise an MDL State Plaintiff in the MDL,as well as any paralegals, administrative

        assistants, and clerical and administrative personnel supervised by that attomey, but only
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        for such time as that MDL State Plaintiffs case is part of the MDL (unless and until a

        further order directs otherwise).

                u.     "Meta" means Meta Platforms, Inc. as well as its parents, divisions,

        subsidiaries, affiliates, partnerships and joint ventures, and all directors, officers,

        employees, agents (including counsel), and representatives ofthe foregoing.

                V.     "NBA Stay" means the stay of discovery relating to the Network Bidding

        Agreement that was entered in paragraph 3 of Pre-Trial Order No. 5 in the MDL(Dkt.

        394).

                w.     "Non-Noticing Party" means, with respect to a particular deposition, any

        Party other than the Noticing Party.

                X.     "Non-Party Deposition" means a deposition of an individual who is not a

        Party or a current or former employee of a Party; a deposition of a current or former

        employee of an entity that is not a Party; and/or a deposition of a corporate designee

        under Federal Rule of Civil Procedure 30(b)(6) of an entity that is not a Party.

                y.     "Notice" means to send a notice ofintent to take a deposition of a Party

        under Federal Rule of Civil Procedure 30(b)(1) or to serve a subpoena for a Non-Party

        Deposition under Federal Rule of Civil Procedure 45(a)(1).

                z.      "Noticing Party" means, with respect to a particular deposition, the Party

        that sends a Deposition Notice for that deposition.

                aa.     "Outside Counsel" means the attorneys employed by outside law firms

        who are retained to represent or advise a Party in a Coordinated Case, as well as any

        paralegals, administrative assistants, and clerical and administrative personnel supervised

        by those attorneys.
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               bb.     "Party" means any individual or entity that asserts a claim, or against

        which a claim has been asserted, in the MDL or the Virginia Case, including the MDL

        Plaintiffs, the Virginia Plaintiffs, Meta, and Google, provided that Meta shall not be

        considered a "Party" while the NBA Stay is in effect or until sixty (60)days after the

        NBA stay is lifted. For the avoidance of doubt, unless and until a further order directs

        otherwise, an individual or entity ceases to be a "Party" if all of the claims that it asserts

        or that have been asserted against it in the MDL or the Virginia Case have been dismissed

        or otherwise adjudicated by a District Court or transferred to a court other than one ofthe

        District Courts.


                cc.    "Protective Orders" means the MDL Confidentiality Order and the

        Virginia Protective Order.

                dd.    "Shared Discovery" means documents and data produced during fact

        discovery in a Coordinated Case and does not include Expert Discovery.

                ee.    "Transcript" means any recording oftestimony, including recordings by

        stenographic means and by video.

                ff.    "Virginia Case" means the case captioned as United States, et al v.

        Google, LLC that is pending in the U.S. District Court for the Eastern District of Virginia

        under docket number l:23-cv-00108-LMB-JFA.


                gg.    "Virginia Plaintiffs" means the United States (including the "Federal

        Agency Advertisers" as defined in ^ 6(A)of the Joint Discovery Plan in the Virginia

        Case, Dkt. 87), and the States of Arizona, California, Colorado, Connecticut, Illinois,

        Michigan, Minnesota, Nebraska, New Hampshire, New Jersey, New York, North

        Carolina, Rhode Island, Tennessee, Washington, and West Virginia and the
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           Commonwealth of Virginia, and any other state thatjoins the Virginia Case, by and

           through their respective Attomeys General.

                     hh.      "Virginia Plaintiffs' Counsel" means "Plaintiffs' Counsel" as that term is

            defined in ^ l(p) ofthe Virginia Protective Order.

                     ii.      "Virginia Protective Order" means the Protective Order entered as docket

           entry 98 in the Virginia Case.

           2.        Shared Discoverv. Notwithstanding the Protective Orders, Counsel may disclose

   Shared Discovery to any other Counsel, provided that Shared Discovery may not be disclosed to

   either (i) any Counsel representing an MDL Plaintiff as to which discovery has been stayed or

   has not begun; or (ii) Counsel representing Meta while the NBA Stay is in effect.'
                     a.       Shared Discovery that was produced and designated as Confidential

           Information in the Virginia Case may be used in the MDL only to the extent that

            Confidential Information may be used under the MDL Confidentiality Order.

                     b.       Shared Discovery that was produced and designated as Highly

            Confidential Information in the Virginia Case may be used in the MDL only to the extent

            that Highly Confidential Information may be used under the MDL Confidentiality Order.

                     c.       Shared Discovery that was produced and designated as Confidential

            Information in the MDL may be used in the Virginia Case only to the extent that

            Confidential Information may be used under the Virginia Protective Order.

                     d.       Shared Discovery that was produced and designated as Highly

            Confidential Information in the MDL may be used in the Virginia Case only to the extent

            that Highly Confidential Information may be used under the Virginia Protective Order.


  'Shared Discovery produced by Meta as a Non-Party in the Virginia Case shall not be made available to MDL
   Plaintiffs until seven (7)days after the NBA Stay is lifted.
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                     e.       Subject to sub-paragraphs 2(a)-(d), Shared Discovery that was produced in

           a Coordinated Case may be used in any Coordinated Case for any purpose permissible

           under the Federal Rules of Evidence and the Federal Rules of Civil Procedure (including

           for purposes ofimpeachment at trial), as if the Shared Discovery had been produced in

           both Coordinated Cases. Notwithstanding the previous sentence, absent an order of the

           Court in the Virginia Case, Shared Discovery produced in the MDL case after the Fact

           Discovery Cutoff in the Virginia Case may not be used by any Party in the Virginia Case,

           unless(1)the Shared Discovery is produced in the Virginia Case within 14 days of its

           receipt in the MDL,notwithstanding the close offact discovery in the Virginia Case; and

           (2)the Shared Discovery is used in the Virginia Case only for impeachment purposes at

           trial and may not be admitted into evidence or used in any dispositive motion, pleading,

           or expert report.

            3.       Depositions Taken During Coordinated Discoverv Period. During the

   Coordinated Discovery Period, the following provisions shall apply:

                     a.        The Parties in the Coordinated Cases shall serve any Deposition Notice on

            all Parties in the Coordinated Cases.^ No Party may Notice a deposition in a Coordinated

            Case in which it is not a plaintiff or a defendant. If a deposition has been Noticed in one

            of the Coordinated Cases, a Party in the other Coordinated Case may Cross Notice the

            deposition in the other Coordinated Case.

                     b.        No Party shall send a Deposition Notice for a deposition to be held fewer

            than twenty-one(21)days after the date on which the Deposition Notice is sent.


   ^ For purposes of paragraphs 3,4, and 5, MDL Plaintiffs collectively will be considered a "Noticing Party' or a
   "Non-Noticing Party," and the Discovery Steering Committee in the MDL shall act on behalf of all MDL Plaintiffs.
   In addition, Virginia Plaintiffs collectively will be considered a "Noticing Party" or a "Non-Noticing Party," and the
   United States shall act on behalf of all Virginia Plaintiffs.

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               c.      If a Non-Noticing Party wishes to Cross Notice a deposition, it must do so

        within three(3)business days ofreceiving the Deposition Notice for that deposition. A

        Non-Noticing Party may not Cross Notice a deposition if doing so would cause that Non-

        Noticing Party to exceed a Deposition Limit.

               d.      If a Non-Noticing Party Cross Notices the deposition within three(3)

        business days of receiving the Deposition Notice, the deposition will count against any

        Deposition Limit applicable to that Non-Noticing Party (unless the deposition does not

        take place). The deposition will also count against any Deposition Limit applicable to the

        Noticing Party (unless the deposition does not take place). For the avoidance of doubt, if

        a Party withdraws a previously-served Notice or Cross Notice at least forty-eight(48)

        hours before the deposition takes place, then that deposition will not count against any

        Deposition Limit applicable to that Party.

               e.      Any witness appearing at a Google Deposition or a Non-Party Deposition

        taken during the Coordinated Discovery Period cannot be compelled to sit for a second

        deposition in any Coordinated Case (including a second Rule 30(b)(6) deposition of the

        same entity on the same or substantially similar topics), absent good cause shown to the

        Court in the Coordinated Case for which the subsequent deposition ofthe witness is

        noticed.


               f.      Notwithstanding the Protective Orders, Counsel may disclose Transcripts

        and exhibits from depositions taken during the Coordinated Discovery Period to any

        other Counsel, provided that such Transcripts and exhibits may not be disclosed to either

        (i) any Counsel representing an MDL Plaintiff as to which discovery has been stayed or

        has not begun; or (ii) Counsel representing Meta while the NBA Stay is in effect. Subject
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          to the Protective Orders, Transcripts and exhibits from depositions taken in a Coordinated

          Case during the Coordinated Discovery Period may be used in any Coordinated Case for

          any purpose permissible under the Federal Rules of Evidence and the Federal Rules of

          Civil Procedure (including for purposes ofimpeachment at trial).

                 g.      Notwithstanding any other provisions of this Order, while the NBA Stay is

          in effect,(i) Meta may not Notice or Cross Notice a deposition, and Meta may not

          question a witness at a Google Deposition or a Non-Party Deposition (except at a Non-

          Party Deposition of a current or former Meta employee);(ii) MDL Plaintiffs may not

          Cross Notice a deposition of a current or former Meta employee; and (iii) no Transcripts

          and exhibits from depositions of current and/or former Meta employees may be disclosed

          to or used by MDL Plaintiffs.

          4.     Time Allocations at Google Depositions Taken During Coordinated Discoverv

   Period. During the Coordinated Discovery Period, the following provisions shall apply:

                 a.      If any Party Notices a Google Deposition, and no other Party Cross

          Notices the deposition, then the Noticing Party will have six (6)hours on the record to

          examine the witness, and any Non-Noticing Party or Parties in the Coordinated Case to

          which the Deposition Notice applies will collectively have one(1) hour on the record to

          examine the witness.


                 b.      If Virginia Plaintiffs and MDL Plaintiffs both Notice or Cross Notice a

          Google Deposition, and no other Party Notices or Cross Notices the deposition, then the

          deposition will be held for two(2)consecutive days. Virginia Plaintiffs will have seven

         (7) hours on the record to examine the witness, MDL Plaintiffs will have six(6)hours on

          the record to examine the witness, and Meta will have one(1) hour on the record to



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          examine the witness, if Meta is deemed a Party (under paragraph l(bb)) at the time of the

          deposition.

                 c.     If Virginia Plaintiffs and Meta both Notice or Cross Notice a Google

          Deposition, and no other Party Cross Notices the deposition, then the deposition will be

          held for two(2)consecutive days. Virginia Plaintiffs will have seven (7)hours on the

          record to examine the witness, Meta will have six(6) hours on the record to examine the

          witness, and MDL Plaintiffs will have one(1)hour on the record to examine the witness.

                 d.     If MDL Plaintiffs and Meta both Notice or Cross Notice a Google

          Deposition, and no other Party Cross Notices the deposition, then MDL Plaintiffs will

          have three and one-half(3.5) hours on the record to examine the witness, and Meta will

          have three and one-half(3.5) hours on the record to examine the witness.

                 e.      If Virginia Plaintiffs, MDL Plaintiffs, and Meta all Notice or Cross Notice

          a Google Deposition, then the deposition will be held for two(2)consecutive days.

          Virginia Plaintiffs will have seven(7) hours on the record to examine the witness, and

          MDL Plaintiffs and Meta will collectively have seven (7)hours on the record to examine

          the witness, if Meta is deemed a Party (under paragraph l(bb)) at the time ofthe

          deposition.

          5.     Time Allocations at Non-Partv Depositions Taken During Coordinated Discovery

   Period. During the Coordinated Discovery Period, the following provisions shall apply:

                 a.      If a Party Notices a Non-Party Deposition, and no other Party Cross

          Notices the deposition, then the Noticing Party will have six (6)hours on the record to

          examine the witness, and any Non-Noticing Party or Parties in the Coordinated Case to




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         which the Deposition Notice applies will collectively have one(1)hour on the record to

         examine the witness.


                b.     If two Parties(one of which is Google) Notice or Cross Notice a Non-

         Party Deposition, and no other Party Cross Notices the deposition, then Google will have

         three(3)hours on the record to examine the witness, the other Party that Noticed or Cross

         Noticed the deposition will have three(3) hours on the record to examine the witness, and

         any Non-Noticing Party or Parties in the Coordinated Case(s) to which the Deposition

         Notice(s) apply will collectively have one(1)hour on the record to examine the witness.

                c.     Iftwo Parties (neither of which is Google)Notice or Cross Notice a Non-

         Party Deposition, and no other Party Cross Notices the deposition, then each ofthe

         Parties that Noticed or Cross Noticed the deposition will have two and one-half(2.5)

         hours on the record to examine the witness, Google will have one(1)hour on the record

         to examine the witness, and any Non-Noticing Party in the Coordinated Case(s)to which

         the Deposition Notice(s) apply will have one(1) hour on the record to examine the

         witness.


                d.       If three Parties(one of which is Google)Notice or Cross Notice a Non-

         Party Deposition, and no other Party Cross Notices the deposition, then the deposition

         will be held for two(2)consecutive days. Each of the Parties that Noticed or Cross

         Noticed the deposition will have three(3)hours on the record to examine the witness, and

         any Non-Noticing Party in the Coordinated Case(s)to which the Deposition Notice(s)

         apply will have one(1)hour on the record to examine the witness.

                e.      If three Parties(none of which is Google)Notice or Cross Notice a Non-

         Party Deposition, and Google does not Cross Notice the deposition, then the deposition


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          will be held for two(2)consecutive days. Each ofthe Parties that Noticed or Cross

          Noticed the deposition will have four(4) hours on the record to examine the witness, and

          Google will have one(1)hour on the record to examine the witness.

                  f.     If Google, Meta, Virginia Plaintiffs, and MDL Plaintiffs all Notice or

          Cross Notice a Non-Party Deposition, then the deposition will be held for two(2)

          consecutive days. Google will have three(3)hours on the record to examine the witness,

          Meta will have three(3)hours on the record to examine the witness, Virginia Plaintiffs

          will have three(3)hours on the record to examine the witness, and MDL Plaintiffs will

          have three(3) hours on the record to examine the witness.

          6.      Depositions Taken Outside Coordinated Discoverv Period. Outside the

   Coordinated Discovery Period, the following provisions shall apply:

                  a.     The Parties in the MDL shall serve any Deposition Notice on Virginia

          Plaintiffs.


                  b.     Notwithstanding the Protective Orders, Counsel for any Party may obtain

          Transcripts and exhibits of Google Depositions and Non-Party Depositions taken in the

          MDL after the Fact Discovery Cutoffin the Virginia Case directly from the court

          reporters for those depositions.

                  c.     Notwithstanding the Protective Orders, Counsel may disclose Transcripts

          and exhibits from depositions taken outside the Coordinated Discovery Period to any

          other Counsel, provided that such Transcripts and exhibits may not be disclosed to either

          (i) any Counsel representing an MDL Plaintiff as to which discovery has been stayed or

          has not begun; or (ii) Counsel representing Meta while the NBA Stay is in effect.




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                  d.      Subject to the Protective Orders, absent an order ofthe Court in the

          Virginia Case, Transcripts and exhibits from depositions taken outside the Coordinated

          Discovery Period may not be used in the Virginia Case for any purpose other than

          impeachment at trial. For the avoidance of doubt, absent an order ofthe Court in the

          Virginia Case, such Transcripts and exhibits may not be admitted into evidence at trial in

          the Virginia Case or otherwise used affirmatively by any Party in any dispositive motion,

          pleading, or expert report in the Virginia Case.

          7.      Expert Discover/. Expert Discovery shall not be shared between the Coordinated

   Cases pending further order. At least ninety(90) days before Google's expert reports are due in

   the MDL,the Parties shall meet and confer over whether there are circumstances in which Expert

   Discovery may or should be shared between the Coordinated Cases. Google shall notify

   Virginia Plaintiffs at least twenty-four(24) hours in advance of serving an expert report in the

   MDL if Google serves such report before the due date in the MDL.

          8.      Notice to Non-Parties. Any Party, in conducting discovery from a non-party in

   connection with a Coordinated Case, shall provide the non-party from which it seeks discovery

   with a copy ofthis Order so as to inform the non-party of his, her, or its rights herein. In

   addition, within three business days ofthis Order taking effect, the Parties shall give notice as

   described in the following sub-paragraphs:

                  a.      Virginia Plaintiffs shall give notice of this Order to (i) all persons to whom

          Virginia Plaintiffs provided notice ofthe Virginia Protective Order under paragraph 2 of

          that order; and (ii) all recipients ofsubpoenas that Virginia Plaintiffs have served in the

          Virginia Case before this Order took effect.




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                  b.     MDL Plaintiffs shall give notice of this Order to (i) all persons to whom

          MDL Plaintiffs provided notice of the MDL Confidentiality Order under paragraph 2 of

          that order; and (ii) all recipients ofsubpoenas that MDL Plaintiffs have served in the

          MDL before this Order took effect.


                  c.     Google shall give notice of this Order to all recipients ofsubpoenas that

          Google has served in the Virginia Case and/or the MDL before this Order took effect.

          9.      Departure from MDL. If any case(s) currently part of the MDL are transferred to

   other venue(s), the Parties in the Coordinated Cases shall meet and confer with the parties to the

   transferred case(s) regarding whether, and on what conditions, the transferred case(s) should be

   coordinated with the MDL and the Virginia Case. If all claims brought by an MDL Plaintiff are

   dismissed, transferred, or remanded, then that MDL Plaintiff shall be treated as a Non-Party for

   purposes of this Order after such dismissal, transfer, or remand. If all claims brought against

   Meta in the MDL are dismissed, then Meta shall be treated as a Non-Party for purposes of this

   Order after such dismissal.


          10.     Effective Date. This Order shall not come into effect unless and until it has been

   entered in both the MDL and the Virginia Case.


   IT IS HEREBY SO ORDERED this                   of _                      ,2023.



                                                             ./S/
                                                                        3^9-
                                                John F. Anderson
                                                United States Magistrate Judge




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